UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 UNITED STATES OF AMERICA,                                    :
                                                              :
                            -against-                         :   13 Crim. 345 (LGS)
                                                              :
 ANTOINE CHAMBERS,                                            :        ORDER
                                              Defendant. :
 ------------------------------------------------------------ X


LORNA G. SCHOFIELD, District Judge:


        WHEREAS, Defendant mailed the letters attached as Exhibits A, B and C to Chambers.

It is hereby

        ORDERED that, by January 20, 2021, the Government shall file a responsive letter. It

is further

        ORDERED that, by January 15, 2021, the Government shall transmit a copy of this

Order to pro se Defendant.

Dated: January 12, 2021
       New York, New York
EXHIBIT A
